Case 19-23176-AJC Doc1 Filed 10/01/19 Page 1 of 13

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

Southern District of Florida
Case number (/f known) __ Chapter you are filing under:
Chapter 7
Q) Chapter 14
QC) Chapter 12 oo
OQ Chapter 13 L) Check if this is an
amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12117

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor? and the other as Debtor 2. The
same person must be Debtor f in all of the forms.

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

| Part 1: | Identify Yourself

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your :
government-issued picture Dania -
identification (for example, First name Fitshname
your driver's license or
passport). Middle name Middle name
Bring your picture Muchuli
identification to your meeting Last name Last name
with the trustee.
Suffix (Sr., Jr, I, IN Suffix (Sr. Jr., I, IN
2. All other names you
have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security XXX — xX - 2) 1 4 5S XXX — XX
number or federal OR OR
Individual Taxpayer 9 9
Identification number KK MT KX KK
(ITIN}

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
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Debtor 4 Dania Muchuli

 

First Name Middle Name

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

Last Name

About Debtor 1:

Z | have not used any business names or EINs.

Case number (if known)

 

Business name

 

Business name

EIN

EIN

1520 SW Sth Street, Apt. 6,

 

 

 

 

Number Street
Miami FL 33135
City State ZIP Code
Miami-Dade
County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

Number Street

 

P.O. Box

 

City State ZIP Code

Check one:

wi Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

Q) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Voluntary Petition for Individuals Filing for Bankruptcy

 

About Debtor 2 (Spouse Only in a Joint Case}:

Q) | have not used any business names or EINs.

 

Business name

 

Business name

EIN

EIN

If Debtor 2 lives at a different address:

 

Number Street

 

 

City State ZIP Code

 

County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

Number Street

 

P.O. Box

 

City State ZIP Code

Check one:

L) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

() | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

page 2
Debtor 1

Case 19-23176-AJC Doc1 Filed 10/01/19 Page 3 of 13

Dania Muchuli

Case number (if known)

 

First Name Middle Name

 

Last Name

Es Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy

11.

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Nofice Required by 17 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

(2 Chapter 7
L) Chapter 11
LJ Chapter 12

LJ Chapter 13

LJ | will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

LJ | need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filling Fee in Instaliments (Official Form 103A).

1 request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is net required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have fhe
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

No

OC Yes.

Y No

Q) Yes.

CI No

Yes.

District When Case number
MM / DD/YYYY

District When Case number
MM / DD/YYYY

District When Case number
MM / DD/YYYY

Debtor Relationship to you

District When Case number, if known
MM/DD /YYYY

Debtor Relationship to you

District When Case number, if known
MM /DD/SYYYY

Go to line 12.
Has your landlord obtained an eviction judgment against you?

{2 No. Go to line 12.

Q) Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor 1 Da nia Muchu li Case number (if known)

 

 

First Name Middle Name Last Name

SS Report About Any Businesses You Own as a Sole Proprietor

 

12. Are youa sole proprietor (Z) No. Goto Part 4.
of any full- or part-time
business? QQ) Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is nota
separate legal entity such as

a corporation, partnership, or
LLC. Number Street

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box fo describe your business:

CL) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

| Commodity Broker (as defined in 11 U.S.C. § 101(6))

L] None of the above

13. Are you filing under {ff you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadiines. |If you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?

— a No. | amnet filing under Chapter 11.
For a definition of small
business debfor, see CL) No. [am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

QC) Yes. lam filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Ea Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do youownorhaveany [Z)Nno
property that poses or is

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs Ifimmediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livesfock
fhat must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 1 Dania Muchuli

 

First Name Middle Name

Last Name

Case number (if known)

 

Ea Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

W i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C1 certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CQ) 1 am not required to receive a briefing about
credit counseling because of:

Q Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You musf check one:

L) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not havea
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

O certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

Toask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

J 1 am not required to receive a briefing about
credit counseling because of:

CQ) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5
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Debtor 1 Dania Muchuli

 

First Name Middle Name

So Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

Sign Below

For you

Official Form 101

Last Name

Case number (if known)

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

CY No. Go to line 16b.
Yes. Goto line 17.

16b. Are your debts primarily business debts? Susiness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

QL) No. Go to line 16c.
QL) Yes. Go to line 17.

16c. State the type of debts you owe that are net consumer debts or business debts.

 

CY No. Iam not filing under Chapter 7. Goto line 18.

Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

i No
QL) Yes

1-49

LJ 50-99
LJ 100-199
LJ 200-999

 $0-$50,000

L) $50,001-$100,000
LJ $100,001-$500,000
LJ $500,001-$1 million

 $0-$50,000

L) $50,001-$100,000
LJ $100,001-$500,000
LJ $500,001-$1 million

C) 1,000-5,000
Q) 5,001-10,000
Q) 10,001-25,000

CL) $1,000,001-$10 million

LJ $10,000,001-$50 million
LJ $50,000,001-$100 million
LJ $100,000,001-$500 million

CL) $1,000,001-$10 million

LJ $10,000,001-$50 million
LJ $50,000,001-$100 million
LJ $100,000,001-$500 million

CL) 25,001-50,000
L) 50,001-100,000
L) More than 100,000

LJ $500,000,001-$1 billion

CL) $1,000,000,001-$10 billion
CL) $10,000,000,001-$50 billion
LJ More than $50 billion

LJ $500,000,001-$1 billion

CL) $1,000,000,001-$10 billion
CL) $10,000,000,001-$50 billion
LJ More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

X #s/ Dania Muchuli

x

 

Signature of Debtor 1
Executed on 09/30/2019

MM / DD /YYYY

Voluntary Petition for Individuals Filing for Bankruptcy

 

Signature of Debtor 2

Executed on

MM / DD /Y¥YYY

page 6
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Debtor 1 Dania M uch uli Case number (if known)

First Name Middle Name Last Name

 

 

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility

For your attorney, if you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief

 

represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page. X js/ Paul Meadows, Esq. Date 09/30/2019
Signature of Attorney for Debtor MM f/f DD /YYYY

Paul Meadows, Esq.

Printed name

FIDELIS LAW, P.A.

Firm name

P.O. BOX 831702

Number Street

 

 

 

 

 

MIAMI FL 33283

City State ZIP Code

Contact phone (305) 788-9881 Email address PMeadowsesqbankruptcy@gmail.com
94279 FL

Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
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Fill in this information to identify your case:

 

 

 

Debtor 4 Dania Muchuli

First Name Middle Name LastName
Debtor 2
(Spouse, if fling) First Name Middle Name Last Name

United States Bankruptcy Court for the: Southern District of Florida

Case number Check if this is:
(If known)
L) An amended filing

QA supplement showing postpetition chapter 13
income as of the following date:

Official Form 106| MM? DD? YYYY
Schedule I: Your Income 12115

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attacha
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

a Describe Employment

1. Fillin your employment
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

If you have more than one job,

 

attach a separate page with v4)
information about additional Employment status Employed L] Employed
employers. Q) Net employed QL) Not employed
Include part-time, seasonal, or
self-employed work. .

Occupation Careaiver (Self-Employed) ***Separated***
Occupation may include student
or homemaker, if it applies.

Employer’s name Angel's Touch Home Health, Inc.

 

Employer’s address 13831 SW S9th Street, Ste. 104,

 

 

 

 

Number Street Number Street
Miami FL 33183
City State ZIP Code City State ZIP Code

How long employed there? ‘41 Year

} Part 2: | Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ a.ao $
3. Estimate and list monthly overtime pay. 3. + g _—*9.00 +s.
4. Calculate gross income. Add line 2 + line 3. 4. g 9.00 $e

 

 

 

 

 

Official Form 1061 Schedule |: Your Income page 1
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Debtor 4 Dania Muchulli Case number (i known),
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 Mere... ccc cece cece ceceses sees sues seneeavenenasenscasieeseeteeeeeeneeetes > 4. g¢_——~9.00 S$

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. §$ 0.00 $
5b. Mandatory contributions for retirement plans 5b. § 0.00 $
5c. Voluntary contributions for retirement plans 5c. § 0.00 $
5d. Required repayments of retirement fund loans 5d. $ 0.00 $
5e. Insurance 5e. $ 0.00 $
5f. Domestic support obligations Sf. $ 0.00 $
5g. Union dues 5g. $ 0.00 $
5h. Other deductions. Specify: Sh. +$ 0.00 + §
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. § 0.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0.00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0.00 $
monthly net income. 8a. -
8b. Interest and dividends 8b.  § 0.00 $
&c. Family support payments that you, anon-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ 200.00 S
settlement, and property settlement. 8c. -
8d. Unemployment compensation éd. $ 0.00
8e. Social Security Be. $ 0.00
&f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: sf § 0.00 $
8g. Pension or retirement income 8g. $ 0.00 g

 

8h. Other monthly income. Specify: Independent Contractor (Caregiver) gh. +$ 1,197.00 +

 

 

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8q + Sh. 9 | $ 0.00 $

 

 

10.Calculate monthly income. Add line 7 + line 9. _
Add the entries in line 10 for Debtor 1 and Debter 2 or non-filing spouse. 10. $__1,497.00 |+ 5 FP 1,497 00

 

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

Specify: 1+ $_____ 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 4 497.00

Write that amount on the Summary of Your Assefs and Liabilities and Certain Statistical Information, if it applies 12. aS eM,
Combined

monthly income
13.Do you expect an increase or decrease within the year after you file this form?

wi No.
L) Yes. Explain:

 

 

 

 

Official Form 1061 Schedule |: Your Income page 2
Case 19-23176-AJC Doci1 Filed 10/01/19 Page 10 of 13

Fill in this information to identify your case:

 

Debtor 4 Dania Muchuli

 

 

 

First Name Middle Name Last Name Check if this is:
Debtor 2 aA
(Spouse, if filing) FirstName Middle Name Last Name O) An amended filing
— ; La supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Southern District of Florida expenses as of the following date:
Case number MM / DDI YYYY
(lf known)

 

Official Form 106J
Schedule J: Your Expenses 1215

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Sa Describe Your Household

1. Is this a joint case?

 

 

WI No. Goto line 2.
L] Yes. Does Debtor 2 liveina separate household?

L] No
LJ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separafe Household of Debtor 2.

 

 

 

 

 

 

2. Do you have dependents? LJ No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and wf Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent...........0...0.0008 O
N
Do not state the dependents’ Daughter 15 FI 2
names. Yes
LI No
CL] Yes
L) No
UL] Yes
L] No
CL] Yes
L) No
LL) Yes
3. Do your expenses include Ww No

expenses of people other than
yourself and your dependents? LU) Yes

ar Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule f- Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and 750.00

$

any rent for the ground or lot. 4. re rr

If not included in line 4:

4a. Real estate taxes 4a. gC. 0
4b. Property, homeowner's, or renter’s insurance 4b. $e 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $00
4d. Homeowner’s association or condominium dues 4d. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1
Case 19-23176-AJC Doci1 Filed 10/01/19 Page 11 of 13

Debtor 1 Dania Muchuli

16.

20.

 

First Name Middle Name Last Name

Additional mortgage payments for your residence, such as home equity loans

 

Utilities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services
6d. Other. Specify:

Food and housekeeping supplies

Childcare and children’s education costs

Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c. Other. Specify:

 

17d. Other. Specify:

 

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay online 5, Schedule I, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.

Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule f: Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner’s association or condominium dues

Official Form 106J Schedule J: Your Expenses

Case number (if known

6a.

6b.

6c.

6d.

15a.

15b.

15c.

15d.

17a.

17b.

17c.

17d.

18.

19.

20a.

20b.

20c.

20d.

20e.

Your expenses

 

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no 7 -f -. +

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Debtor 1 Dania Muchuli Case number (i anown)

 

First Name Middle Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

wi No.

il Yes. Explain here:

Official Form 106J Schedule J: Your Expenses

 

21.

22a.

22b.

22c.

23a.

23b.

23c.

 

 

ts 0.00
gs 2,091.00
$9.00
$2,091.00

s__1,497.00_

-s_ 2,091.00

§ 0.00

 

page 3

 
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Fill in this information to identify your case:

 

 

Debtor 1 Dania Muchuli

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Florida

Case number
(If known)

 

LJ Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 1245

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

a Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

WI No

LL) Yes. Name of person . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

X Js/ Dania Muchul x
Signature of Debtor 1 Signature of Debtor 2
pate 09/30/2019 ‘aie
MM? DDO YY MM? DDS YYYY

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
